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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                     8:17CR286

         vs.
                                                                     MEMORANDUM
BRIJIDO BELTRAN-RODELO, JOHN F.                                          AND
HALLER, ANA KARLA RODRIGUEZ-                                            ORDER
TORREZ,

                         Defendants.


        This matter came before the Court on September 20, 2018, for a Rule 17.1 Conference.
Assistant United States Attorney Christopher L. Ferretti was present for the government. Attorneys
Jerry M. Hug, James J. Regan, and Thomas O. Campbell, were present for the individual
Defendants, each of whom were excused from appearing. The scheduling of the trial in this matter
was discussed, including requested deadlines for the preparation of transcripts of various translated
intercepted communications and objections to the transcripts and/or summaries as trial exhibits, as
well as the matter of trial stipulations.
        The trial for all Defendants was previously continued to December 4, 2018 (Doc. No. 258),
and Defendants do not oppose the scheduled trial date or the setting of additional deadlines. In
accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice have been
served by granting the continuance and outweigh the interests of the public and the Defendants in
a speedy trial. In the interest of justice, the time between September 12, 2018 and December 4,
2018, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act. This case was previously designated as complex, due to the number of
defendants, and it is unreasonable to expect adequate preparation for trial within the statutory time
limits; and failure to grant a continuance would otherwise deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
3161(h)(6), (7)(A) and (B)(ii), (iv).
        Accordingly,
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       IT IS ORDERED:
       1.      The trial of Defendants remains set for December 4, 2018;
       2.      The time between September 12, 2018 and December 4, 2018, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act;
       3.      The government, unless otherwise ordered by the Court, shall provide transcripts
of the various translated intercepted communications and/or summaries that it intends to use as
trial exhibits to Defendant Ana Karla Rodriguez-Torrez by October 5, 2018, and to the remaining
Defendants by October 26, 2018;
       4.      Each Defendant, unless otherwise ordered by the Court, shall advise the
government of any objections to the transcripts of various translated intercepted communications
and/or summaries as trial exhibits by November 2, 2018;
       5.      On or before November 2, 2018, the parties shall agree upon any trial stipulations
regarding the authenticity or foundation of the various audio, line sheets, and translated intercepted
communications; chain of custody; nature, weight, and purity as to controlled substance evidence;
business records; or otherwise; and
       6.      This matter is set for another 17.1 Conference on November 6, 2018, at 9:30 a.m.
before the undersigned magistrate judge in order to promote a fair and expeditious trial.


       Dated this 21st day of September, 2018.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge




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